              Case 1:10-cr-00287-AWI Document 210 Filed 03/05/14 Page 1 of 2



 1 MARK W. GIRDNER
   ATTORNEY AT LAW
 2 State Bar No. 224714
   815 – 15th Street
 3
   Modesto, CA 95354
 4 (209)524-7600 / (209)524-6010 fax

 5
   Attorneys for Defendant
 6 Erik Cervantes-Aguilar

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:10-CR-00287-AWI-6
12                                Plaintiff,             JOINT STIPULATION TO
                                                         CONTINUE STATUS CONFERENCE;
13   v.                                                  AND ORDER
14   ERIK CERVANTES-AGUILAR,
15                                Defendant.
16

17          IT IS HEREBY STIPULATED by and between the parties and through their respective

18 attorneys of record that the status conference hearing in the above-captioned matter now scheduled

19 for March 10, 2014, may be rescheduled for April 28, 2014 at 1:00 p.m.
20          This continuance is at the request of the parties to allow additional time for further review of

21 all discovery by defendant’s attorney. Defendants attorney is completing review of all discovery

22 received so that he may explain and go over the discovery with the defendant. Upon full review,
23 defendant’s attorney will go over the plea offer that we have received with the defendant in hopes of

24 resolving this case.

25          The parties agree that the delay resulting from the continuance shall be excluded because the

26 ends of justice served in granting such a continuance outweigh the best interests of the public and

27 defendant in a speedy trial.

28

29
                Case 1:10-cr-00287-AWI Document 210 Filed 03/05/14 Page 2 of 2


     ///
 1
     ///
 2

 3 ///

 4                                IT IS SO STIPULATED.
 5

 6 DATED: March 5, 2014                         /s/ Mark W. Girdner
                                                MARK W. GIRDNER
 7                                              Attorney for Defendant Erik Cervantes-Aguilar
 8
     DATED: March 5, 2014                       /s/ Kathleen Servatius
 9                                              KATHLEEN SERVATIUS
                                                Assistant United States Attorney
10

11

12
                                                  ORDER
13

14            IT IS SO ORDERED that the 3rd Status Conference is continued from March 10, 2014 to
15 April 28, 2014 at 1:00 PM before Judge McAuliffe. Pursuant to agreement of the parties that Time

16 be excluded, Time is excluded justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).

17
     IT IS SO ORDERED.
18

19         Dated:   March 5, 2014                          /s/ Barbara A. McAuliffe             _
                                                     UNITED STATES MAGISTRATE JUDGE
20

21

22
23

24

25
26

27

28

29
